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FOR THE NORTHERN D`ISTRICT OF OHlO
EASTERN DlVlSION

UNITED STATES OF AMERICA, l N D l C T M E N T

jUDGE PQLSTER
CASEN<1 : la CR 562

Title 18, Sections 922(g)(l) and

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Plaintiff, )
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ANTONIO STEWART, ) 924(€])(]), United Slates Code;
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V.

Title 21, Sections 84l(a)(l),
(b)(l)(D), and 853, United States
Code; Title 28, Section 2461(€),
United States Code

Defendant.

COUNT l
(Distribution ofl\/Iai'ijuana, in violation of 2| U.S.C. §§ 84l(a)(l) and (b)(l)(D))

Tlie Grand Jury chargc-:S:

l. On or about July 27, 2018, in the Nor'tliei‘n District of Oliio, Eastern Division,
Defendant ANTONIO STEWART did knowingly and intentionally distribute marijuana a
Schedule l controlled Substance, in violation ot"Title 21, United States Codc, Sections 841(_a)(l)
and (b)(l )(D).

COUNT 2
(Distribution of l'\/lai‘ijuana, in violation of 21 U.S.C. §§ S4l(a)(l) and (b)(l)(D))

The Grand .lury further charges:
2. On or about July 31, 2018, in the Noi'thei'n Disti'ict of Ohio, Eastei'n Division,

Defendant ANTONIO STEWART did knowingly and intentionally distribute marijuana, a

Schedule 1 controlled substance7 in violation ofTitle 21, United States Code, Sections 84l(a)(1)
and (b)(l)(D).

COUNT 3
(Felon in Possession oFa Firearm and Ammunition, in violation of 18 U.S.C. § 922(g)(1))

The Grand Jury further charges:

3. On or about August 3, 2018, in the Northern District othio, Eastern Division,
Defendant ANTONIO STEWART, having been previously convicted of a crime punishable by
imprisonment t`or a term exceeding one year, that being: Dornestic Violence, a felony in the 4th
degree, in Casc Nurnber 13CR038015, in the Lorain County Common Pleas Court, on or about
September 8, 2014, did knowingly possess in and affecting interstate commerce a tirearm, to wit:
a CN Romarm, 7.62 caliber assault ritle, bearing serial number 1984 PF 5483, and ammunition,
in violation ofTitle 18, United States Code` Scction 922(g)(1).

COUNT 4
(Distribution of l\/Iarijuana, in violation of 21 U.S.C. §§ 84l(a)(1) and (b)(l)(D))

The Grand Jury further charges:

4. On or about August 15, 2018, in the Northern District of Ohio, Eastern Division,
Det`endant ANTONIO STEWART did knowingly and intentionally distribute marijuana, a
Schedule l controlled substance, in violation ofTitle 21, United States Code, Sections 841(21)(1)
and (b)( 1 )(D).

COUNT 5
(Felon in Possession of Firearins and Ammunition, in violation of 18 U.S.C. § 922(g)(1))

The Grand .lury further charges:

5. On or about August 151 2013, in the Northern District othio, Eastern Division,

Defendant ANTONIO STEWART, having been previously convicted of a crime punishable by

imprisonment for a term exceeding one year, that being: Domestic Violence, a felony in the 4th
degree1 in Case Nuinber 13CR088015, in the Lorain County Common Pleas Court, on or about
September 8, 2014, did knowingly possess in and affecting interstate commerce firearms, to wit:
a Smith and Wesson, 9 mm handgun, bearing sen`al number l-lMEl 151, and ammunition, and a
Dan Wesson, 357 magnum, bearing serial number 352299, and ammunition, in violation of Title

18, United States Code, Section 922(g)(l_).

COUNT 6
(Possession with the lntent to Distribute Marijuana, in violation of2l U.S.C.
§§ 341(&1)(1)311€1(\3)(1)(]3))
The Grand lury further charges:
6. On or about August 29, 2018, in the Northern District of Ohio, Eastern Division,
Defendant ANTONIO STEWA RT did knowingly and intentionally possess with the intent to
distribute marijuana, a Schedule l controlled substance, in violation of Title 21, United States

Code_, Sections 84l(a)(l) and (b)(l )(D).

COUNT 7
(Felon in Possession ofa Firearm and Ammunition, in violation of 18 U.S.C. § 922(g)(1))

The Grand Jury further charges;

7. On or about August 29, 2018, in the Northern District of Ohio, Eastern Division,
Defendant ANTONIO STEWA RT, having been previously convicted of a crime punishable by
imprisonment for a term exceeding one year, that being: Domestic Violence, a felony in the 4th
degree, in Case Nuinber 13CR088015, in the Lorain County Common Pleas Couni, on or about
September 81 2014, did knowingly possess in and affecting interstate commerce a firearm, to wit:
a Smith and Wesson, handgun, bearing serial number HCU5336, and ammunition, in violation of

Title 18, United States Codc, Section 922(g` (1).

FORFElTURE

The Grand Jury further chargcs:

8. F or the purpose ofalleging forfeiture pursuant to Title 21, United States Code,

Section 853, Title 18, United States Code, Section 924(d](1), and Title 28, United States Code,

Section 2461(c), the allegations of Counts l throuin 7 are incorporated herein by reference. As a

result of the foregoing offenses1 Defendant ANTON[O STEWART shall forfeit to the United

States any and all property constituting, or derived from, any proceeds he obtained, directly or

indirectly, as the result of such violations; any and all of his property used or intended to be used,

in any manner or part, to commit or to facilitate the commission of such violations', and any and

all property (including firearms and ammunition) involved in or used in the commission of such

violations; including, but not limited to, the following:

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b.

314,997.00 in U.S. Currency;

Srnith and Wesson, handgun, bearing serial number 1-1CU5336, and
ammunition;

Dan Wesson, 357 magnum, bearing serial number 352299, and
ammunition;

CN Romarm, 7.62 caliber assault rifle, bearing serial number 1984 PF
5483, and ammunition; and,

Smith and Wesson, 9 mm handgun, bearing serial number HMEl 151, and
ammunition

A TRUE BILL.

Original document - Signatures on file with the Clerk of Coui“ts, pursuant to the E-Government

Act of 2002.

